Case:18-12160-TBM Doc#:21 Filed:07/20/18 Entered:07/20/18 14:47:07 Page1 of 9

UNITED STATES BANKRUPTCY COURT

DISTRICT OF COLORADO
In re:
WUNG KIM, ) CASE NO. 18-12160-TBM
SSN: ¥*#_#*.9399, )
Debtor, ) CHAPTER 7
)
CREDIT UNION OF COLORADO, }
Movant, )
)
Wung Kim and )
Kevin P. Kubie, Trustee, )
Respondents. }

 

MOTION FOR RELIEF FROM STAY

 

The above-named Movant respectfully represents:

1. Debtor filed a petition under Chapter 7 of the Bankruptcy Code on or about March
21, 2018, and an Order for Relief was entered.

2. The Bankruptcy Court has jurisdiction over this adversary proceeding pursuant to
28 U.S.C. Section 1471 and 11 U.S.C. Section 362.

3. Movant, Credit Union of Colorado, is the holder of a secured claim against Debtor
for the sum of approximately $33,072.16. Movant has a perfected security interest in the Debtor’s
2014 Acura MDX, VIN 5FRYD4H49EB036783 (“Vehicle”). A copy of the motor vehicle title
reflecting Movant’s lien is attached hereto as Exhibit A.

4. Debtor’s statement of intention states Debtor intends to retain the Vehicle and pay
pursuant to the contract. The Vehicle is currently in Debtor’s possession.

5. Debtor is delinquent with respect to the payments due on the underlying
contractual loan obligation owed to Movant and is therefore in default, with the loan due and
owing for May 22, 2018. Accordingly, Movant is inadequately protected. A copy of Debtor’s
recent transaction history is attached hereto as Exhibit B.

6. The outstanding principal balance of the debt secured by the loan coilateral is
approximately $32,758.04, and after the existing encumbrances and the estimated costs of sale
Debtor is believed to have no equity in the loan collateral, based upon the approximate NADA
value for the vehicle of $20,325.00. Additionally, the loan collateral is not necessary to an
effective reorganization because Debtor is proceeding under Chapter 7 of the Bankruptcy Code.
Furthermore, there are alternative transportation options available to Debtor that would better
serve the interest of Debtor, Movant, and all other Creditors.
Case:18-12160-TBM Doc#:21 Filed:07/20/18 Entered:07/20/18 14:47:07 Page2 of 9

7. The enforcement of Movant’s secured interest has been stayed by operation of 11
U.S.C. 362 (a). However, for the foregoing reasons, Movant is entitled to relief from the
automatic stay under 11 U.S.C. 362 (d)(1) and (2) so that it may exercise those rights and
remedies specified in its security agreement documents and as may otherwise be provided by

applicable law with respect to the Movant’s collateral, and for such other and further relief as may
be proper.

8. Movant respectfully request that the court waive the requirements of F.R.B.P.
4001(a)(3) and enter an order for relief from stay that is not stayed until the expiration of 14 days
after the entry of the order for relief, so that the Movant may immediately enforce its security
interest in the motor vehicle referred to above upon entry of the Order for Relief.

9. If Movant is not permitted to foreclose its security interest in said property, it will
suffer irreparable injury, loss and damage.

WHEREFORE, Movant prays that upon final hearing of this Motion, the stay pursuant to
11 U.S.C. Section 362 be modified to permit it to immediately foreclose its security interest in the
motor vehicle referred to above, that the requirements of F.R.B.P. 4001(a)(3) be waived and that it
have such other and further relief as is just.

Respectfully submitted July 20, 2018.
Respectfully submitted,

HOLST, BOETTCHER, & TEHRANI, LLP

és/ Anna R. Bloomer

Counsel to Movant

Brian J. Holst Atty. Reg. #:16901
iman Tehrani, Atty. Reg.# 44076
Anna R. Bloomer, Atty. Reg. #50876
514 Kimbark Street; PO Box 298
Longmont, CO 80502-0298

Phone: (303) 772-6666
Case:18-12160-TBM Doc#:21 Filed:07/20/18 Entered:07/20/18 14:47:07 Page3 of 9

STATE OF COLORADO _ }
) ss.
COUNTY OF BOULDER  )

VERIFICATION

Anna R. Bloomer, having been duly sworn upon oath, states that she has read the
foregoing Motion for Relief from Stay, and that the contents therein are true and correct to the

best of her knowledge and belief.

NAD ar

Anna R. Bloomer

ty

Subscribed and sworn to before me this yh +? day of July, 2018, by Anna R. Bloomer.

 

VANESSA MELENDREZ
NOTARY PUBLIC

STATE OF COLORADO
NOTARY ID 20194022378
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Notary Public
   
 
  
  

              
    
 
  
  
 
    
 

 

  
 
 
 
 
  
 
 

 

Case:18-12160-TBM Doc#:21 Filed:07/20/18 Entered:07/20/18 14:47:07 Page4 of 9
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FORMER E TITLE oe
THE APPLICANT HAS BEEN DULY REGISTERED IN THIS OFFICE AS THE OWNER OF THE MOTOR VEHICLE DESCRIBED, ie .
SUBJECT TO LIENS AND ENCUMBRANCES IN THE ORDER SHOWN. LN

EXECUTIVE DIRECTOR. COLORADO DEPARTMENT OF REVENUE = DATE DUPLICATE ISSUED
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UNITED STATES BANKRUPTCY COURT

DISTRICT OF COLORADO
In re:
WUNG KIM, ) CASE NO. 18-12160-TBM
SSN: *##.**.9392, )
Debtor, ) CHAPTER 7
)
CREDIT UNION OF COLORADO, )
Movant, )
)
Wung Kim and )
Kevin P. Kubie, Trustee, )
Respondents. )

 

NOTICE OF MOTION FOR RELIEF FROM STAY
AND OPPORTUNITY FOR HEARING PURSUANT TO 11 U.S.C, § 362(d)

 

OBJECTION DEADLINE: August 9, 2018.

YOU ARE HEREBY NOTIFIED that a Motion for Relief from Stay has been filed, a copy
of which is attached hereto.

A hearing on the motion has been set for Thursday, August 16, 2018 at 9:00 AM at the
U.S. Bankruptcy Court, 721 19" Street, Courtroom (E), Denver, Colorado 80202. The hearing
will be conducted in accordance with the provisions of L.B.R. 4001-1.

IF YOU DESIRE TO OPPOSE THIS MOTION, you must file with this court a
WRITTEN OBJECTION to the motion on or before the objection deadline stated above and serve
a copy upon movant’s attorney, whose address is listed below.

If you file an objection, you are REQUIRED to comply with L.B.R. 4001-1 regarding
hearing procedures, including (1) the timely submission and exchange of witness lists and exhibits
and (2) attendance at the above-scheduled hearing in person or through counsel, if represented.

IF YOU FAIL TO FILE AN OBJECTION, the scheduled hearing will be vacated, and
an order granting the relief requested may be granted without further notice to you.

July 20, 2018 By: Anna &. Bloomer
Date of Issuance Counsel to Movant

Anna R. Bloomer, No. 50876
514 Kimbark Street, PO Box 298
Longmont, CO 80501

P: 303-772-6666
Case:18-12160-TBM Doc#:21 Filed:07/20/18 Entered:07/20/18 14:47:07 Page? of 9

In re:

Wung Kim, CASE NO. 18-18-12160-TBM
Debtor. CHAPTER 7

CERTIFICATION OF SERVICE

The undersigned does hereby certify that on July 20, 2018, the foregoing Motion for Relief
From Stay, Notice of Hearing or Preliminary Hearing, and Affidavit of Military Service was
placed in the US Mail with postage prepaid, addressed to:

Wung Kim
4283 Addax Ct
Colorado Springs, CO 80922

Brett Chalmers
414 South Tejon Street
Colorado Springs, CO 80903

Kevin P. Kubie
PO Box 8928
Pueblo, CO 81008

U.S. Trustee — via ECF
/s/ Anna R. Bloomer
Case:18-12160-TBM Doc#:21 Filed:07/20/18 Entered:07/20/18 14:47:07 Pages of 9

UNITED STATES BANKRUPTCY COURT

DISTRICT OF COLORADO
In re:
WUNG KIM, ) CASE NO. 18-12160-TBM
SSN: **#-**.9399, )
Debtor, ) CHAPTER 7
)
CREDIT UNION OF COLORADO, }
Movant, )
)
Wung Kim and )
Kevin P. Kubie, Trustee, )
Respondents. 5}

 

AFFIDAVIT OF MILITARY SERVICE

 

COMES NOW, Anna R. Bloomer, as Counsel for Movant, and in accordance with the
Servicemembers Civil Relief Act (SCRA), 50 App. USC §501 et seq., hereby certifies, pursuant to
§501(b)(1) and (4) that Debtor in the above-referenced matter is not entitled to the protection
afforded under the SCRA. At the time of filing this motion, Debtor is not a person in the military
service as that is defined in 50 USC § 511. In support of this affidavit, it is stated that:

_X._ A request for the military status of the above-named Debtor by the undersigned from
the Department of Defense Manpower Data Center indicated that Debtor is not currently on active

duty.
DATED: July 20, 2018 Respectfully submitted,

HOLST, BOETTCHER & TEHRANI, LLP

/s/ Anna R. Bloomer

Counsel to Movant

Anna R. Bloomer, No. 50876
514 Kimbark Street; PO Box 298
Longmont, CO 80502-0298
Phone: (303) 772-6666
Case:18-12160-TBM Doc#:21 Filed:07/20/18 Entered:07/20/18 14:47:07 Page9 of 9
VERIFICATION

STATE OF COLORADO _ )
} ss.
COUNTY OF BOULDER  )

The undersigned hereby declares under penalty of perjury that the facts used in support of
this Affidavit of Military Service are true and correct to the best of her knowledge and belief.

r

g
Anna R.. Bloomer

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Subscribed and sworn to before me this jt day of July, 2018, by Anna R. Bloomer.

VANESSA MELENDREZ —-

NOTARY PUBLIC Notary Public

STATE OF COLORADO
NOTARY iD 20184023316
My Commission Expires June 4, 2022

 

 

 

 

 
